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                     UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                          JUL 28 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
 SIAKA MASSAQUOI, as a natural person,           No.   22-55448
 on behalf of himself and all others similarly
 situated,                                       D.C. No.
                                                 2:21-cv-08569-SVW-PD
                 Plaintiff-Appellant,            Central District of California,
                                                 Los Angeles
   v.
                                                 ORDER
 FEDERAL BUREAU OF
 INVESTIGATION; et al.,

                 Defendants-Appellees.

        The court is of the unanimous opinion that the facts and legal arguments are

 adequately presented in the briefs and record, and the decisional process would not

 be significantly aided by oral argument. Therefore, this case is ordered submitted

 on the briefs and record without oral argument on August 18, 2023, in Pasadena,

 California. See Fed. R. App. P. 34(a)(2).




                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT
